                          Case 1-24-45433-ess                                   Doc 1-8                 Filed 12/31/24                        Entered 12/31/24 15:26:10



 Fill in this information to identify the case:

                      1550 BEDFORD AVE LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       EASTERN
 United States Bankruptcy Court f or the: _______________________ District of ________                          NY
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                               Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                14000000
                                                                                                                                                                                              $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:                                                                                                                                                               0
                                                                                                                                                                                              $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                 14000000
                                                                                                                                                                                              $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                30981094
2.
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                0
                                                                                                                                                                                              $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................
                                                                                                                                                                                                1428310
                                                                                                                                                                                            + $ ________________



4.   Total liabilities...................................................................................................................................................................       3240904
                                                                                                                                                                                              $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                page 1
